                       UNITED STATES DISTRICT COURT

                          DISTRICT OF CONNECTICUT


NICOLE CHASE                                 :      NO.: 3:18-cv-00683 (VLB)
                                             :
v.                                           :
                                             :
NODINE’S SMOKEHOUSE, INC., CALVIN            :      JURY DEMAND
NODINE, TOWN OF CANTON, JOHN                 :
COLANGELO, ADAM GOMPPER, MARK J.             :
PENNEY AND CHRISTOPHER ARCIERO               :      OCTOBER 1, 2019

      DEFENDANTS, TOWN OF CANTON, JOHN COLANGELO AND ADAM
     GOMPPER’S, ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
          SECOND AMENDED COMPLAINT, DATED JUNE 19, 2019

I.    STATEMENT OF FACTS

      A.     Preliminary Statement

      1.     As to paragraph 1, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein, and therefore, leave the plaintiff to her burden

of proof.

      2.     As to paragraph 2, it is admitted that at all times Calvin Nodine was

treated professionally by the defendants as was the plaintiff. The remaining

allegations of Paragraph 2 are denied.

      3.     As to paragraph 3, it is admitted that on September 8, 2017, a

warrant was issued for plaintiff’s arrest for making a false statement in the 2nd
degree. The remaining allegations of paragraph 3 are denied.

      4.     As to paragraph 4, it is admitted that Calvin Nodine has not been

charged to date for lack of probable cause. The remaining allegations of

paragraph 4 are denied.

      5.     As to paragraph 5, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein, and therefore, leave the plaintiff to her burden

of proof.

      B.     Parties and Other Individuals

      6-8.   As to paragraphs 6, 7 and 8, these defendants do not have

sufficient knowledge or information upon which to base a belief or opinion

about the truth of the matters contained therein, and therefore, leave the plaintiff

to her burden of proof.

             i.    The Sexual Assault Defendants

      9-15. These defendants do not answer paragraphs 9 through 15, as these

paragraphs are not directed toward them.

             ii.   The Police Misconduct Defendants

      16-17. Paragraphs 16 and 17 are admitted.

      18.    That portion of paragraph 18 which states: “At all times mentioned

herein, John Colangelo was a Detective in the Canton Police Department,” is



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admitted. As to the remainder of paragraph 18, these defendants do not have

sufficient knowledge or information upon which to base a belief or opinion and,

therefore, leave the plaintiff to her burden of proof.

      19.    That portion of paragraph 19 which states: “At all times mentioned

herein, Adam Gompper was a Police Officer in the Canton Police Department,” is

admitted. As to the remainder of paragraph 19, these defendants do not have

sufficient knowledge or information upon which to base a belief or opinion and,

therefore, leave the plaintiff to her burden of proof.

      C.     Jurisdiction and Venue

      20-24. As to paragraphs 20 through 24, these defendants do not have

sufficient knowledge or information upon which to base a belief or opinion

about the truth of the matters contained therein, and therefore, leave the plaintiff

to her burden of proof.

      25-26. Paragraphs 25 and 26 are admitted.

      D.     Facts Relating to Sexual Assault and Hostile Environment

      27-59. These defendants do not answer paragraphs 27 through 59, as

these paragraphs are not directed toward them.

      E.     Facts Relevant to the Canton Police Department Misconduct

      60.    As to paragraph 60, it is admitted only that the plaintiff went to the

Canton Police Department, on May 7, 2017, with her mother. The remaining



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allegations of paragraph 60 are denied.

      61.    It is admitted that accepted law enforcement standards exist as to

methods and procedures for the investigation and interview of victims of sexual

assault. It is denied that the Canton Police Department has adopted standards

of the IACP and/or EVAW. As to the remainder of paragraph 61, these

defendants do not have sufficient knowledge or information upon which to base

a belief or opinion and, therefore, leave the plaintiff to her burden of proof.

      62.    As to paragraph 62, the defendants deny failing to follow applicable

department policies and procedures. As to the remainder of paragraph 62, these

defendants do not have sufficient knowledge or information upon which to base

a belief or opinion and, therefore, leave the plaintiff to her burden of proof.

      63.    Paragraph 63 is admitted.

      64.    That portion of paragraph 64 which states: “Defendant Adam

Gompper met with Ms. Chase in the lobby of the Canton Police Department on

May 7, 2017,” is admitted. The portion of this paragraph which states: “He had

her relate the details of the assault in a public area, with her mother present. As

they discussed the incident, numerous individuals in the public lobby were

walking by. She related that Calvin Nodine had sexually assaulted her in the

men’s bathroom without her consent,” is denied. As to the remainder of

paragraph 64, these defendants do not have sufficient knowledge or information



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upon which to base a belief or opinion and, therefore, leave the plaintiff to her

burden of proof.

      65.     As to paragraph 65, the defendants admit that Officer Gompper did

not refer the plaintiff to a hospital for examination as she did not describe any

event that indicated she was in need of an examination.

      65.     Paragraph 65 is denied. Although Officer Gompper understood the

plaintiff to be complaining of sexual harassment rather than sexual assault he

provided her with an Office of Victims Services Card.

      67.     Admitted as the plaintiff did not make a sexual assault complaint.

      68.     Admitted as the plaintiff did not wish to make a formal complaint or

provide a written statement.

      69.     Admitted as the plaintiff did not wish to make a formal complaint or

provide a written statement.

      70.     That portion of paragraph 70 which states that Officer Gompper told

the plaintiff “that they had a lot of ‘he said/she said’ cases like this that the

police cannot prove,” is denied. The remainder of paragraph 70 is admitted.

      71.     Paragraph 71 is admitted but the defendants deny any implied

allegation that Officer Gompper had a reason to accompany the plaintiff to the

restaurant.

      72.     As to paragraph 72, it is admitted that on May 11, 2017 the plaintiff



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provided Officer Gompper with a written statement under oath. Any implied

allegation that the statement was not taken properly or was not that of the

plaintiff is denied.

        73.   That portion of paragraph 73 which states: “In the statement Ms.

Chase reiterated that Calvin Nodine had sexually assaulted her without her

consent,” is denied. That portion of paragraph 73 which states that the plaintiff

“omit[ted] the fact that it had been a completed act of oral sex,” is admitted. As

to the remainder of paragraph 73, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion and, therefore,

leave the plaintiff to her burden of proof.

        74.   Paragraph 74 is admitted.

        75-76. Paragraphs 75 and 76 are denied.

        77.   As to paragraph 77, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein and, therefore, leave the plaintiff to her burden

of proof.

        78.   Paragraph 78 is admitted but the defendants deny any implied

allegation that there was physical evidence to gather.

        79.   The defendants do not answer paragraph 79 as it is improper in

form.



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      80.    As to paragraph 80, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein and, therefore, leave the plaintiff to her burden

of proof.

      81-82. Paragraphs 81 and 82 are admitted.

      83-84. Paragraphs 83 and 84 are denied.

      85.    As to paragraph 85, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein and, therefore, leave the plaintiff to her burden

of proof.

      86.    As to paragraph 86, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein and, therefore, leave the plaintiff to her burden

of proof.

      87.    That portion of paragraph 87 which states, “His story was incredible

on his face” is denied. As to the remainder of paragraph 87, these defendants

do not have sufficient knowledge or information upon which to base a belief or

opinion about the truth of the matters contained therein and, therefore, leaves

the plaintiff to her burden of proof.

      88.    As to paragraph 88, these defendants do not have sufficient



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knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein and, therefore, leave the plaintiff to her burden

of proof.

      89.    As to paragraph 89, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein and, therefore, leave the plaintiff to her burden

of proof.

      90-98. The defendants do not answer paragraphs 90 through 98 as they

are improper in form.

      99.    As to Paragraph 99 it is denied that plaintiff ever described a

forcible sexual assault or that the defendant Colangelo made the decision that

such a crime was not serious.

      100.   As to paragraph 100, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein and, therefore, leave the plaintiff to her burden

of proof.

      101.   As to paragraph 101, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein and, therefore, leave the plaintiff to her burden

of proof.



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      102.   Paragraph 102 is denied.

      103-105.     As to paragraphs 103, 104 and 105, these defendants do not

have sufficient knowledge or information upon which to base a belief or opinion

about the truth of the matters contained therein, and therefore, leave the plaintiff

to her burden of proof.

      106-109.     Paragraphs 106 through 109 are admitted.

      110.   It is admitted that plaintiff met with Detective John Colangelo. It is

denied that the plaintiff had never spoken to him before.

      111.   As to paragraph 111 is admitted that Adam Gompper was not in the

interview room.

      112-113.     Paragraphs 112 and 113 are denied.

      114.   As to paragraph 114, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion about the truth

of the matters contained therein, and therefore, leave the plaintiff to her burden

of proof.

      115.   Paragraph 115 is denied.

      116.   That portion of paragraph 116 which states: “During the interview,

Colangelo told Ms. Chase that her statement and Alexandria Archer’s

statements about Nodine grabbing her buttocks earlier in the day contained

almost the exact wording,” is admitted. As to the remainder of paragraph 116,



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these defendants do not have sufficient knowledge or information upon which to

base a belief or opinion and, therefore, leave the plaintiff to her burden of proof.

      117.   That portion of paragraph 117 which states, “During the interview,

Colangelo told Ms. Chase that they were looking into whether or not there was

probable cause to develop an arrest warrant for Nodine for a crime is admitted.

The remainder of paragraph 117 is denied.

      118.   The portion of paragraph 118 which states, “Yet Colangelo

continued to recklessly assume that Ms. Chase had made the criminal complaint

to get money from Nodine is denied.” As to the remainder of paragraph 118,

these defendants do not have sufficient knowledge or information upon which to

base a belief or opinion and, therefore, leave the plaintiff to her burden of proof.

      119.   That portion of paragraph 119 which states: “He asked her to tell

her story again,” is admitted. The remainder of paragraph 119 is denied.

      120.   As to paragraph 120, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion and, therefore,

leaves the plaintiff to her burden of proof.

      121.   Paragraph 121 is denied.

      122.   That portion of paragraph 122 which states: “He asked her whetehr

she thought that Calvin Nodine was telling the truth,” is admitted. The

remainder of paragraph 122 is denied.



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        123.   Paragraph 123 is denied.

        124.   Paragraph 124 is denied.

        125.   Paragraph 125 is denied.

        126.   It is admitted that the plaintiff did not tell the police that Mr. Nodine

had forced her to perform oral sex on him. As to the remainder of paragraph

126, these defendants do not have sufficient knowledge or information upon

which to base a belief or opinion and, therefore, leave the plaintiff to her burden

of proof.

        127.   The defendants do not answer paragraph 127 as it is improper in

form.

        128.   Paragraph 128 is denied.

        129.   Paragraph 129 is admitted.

        130.   Paragraph 130 is denied.

        131.   As to paragraph 131, the defendants deny that Detective Colangelo

was dismissive of any concerns expressed by the plaintiff. As to the remainder

of paragraph 131, these defendants do not have sufficient knowledge or

information upon which to base a belief or opinion and, therefore, leave the

plaintiff to her burden of proof.

        132.   That portion of paragraph 132 which states: “put his penis into her



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mouth without her consent,” is denied. As to the remainder of paragraph 132,

these defendants do not have sufficient knowledge or information upon which to

base a belief or opinion and, therefore, leave the plaintiff to her burden of proof.

      133.   Paragraph 133 is denied.

      134.   Paragraph 134 is denied.

      135.   As to paragraph 135, it is denied that the plaintiff told Colangelo

that she was trapped in the bathroom. The remainder of paragraph 135 is

admitted.

      136.   Paragraph 136 is denied.

      137.   Paragraph 137 is denied.

      138.   That portion of paragraph 138 which states: “During the interview,

Ms. Chase thanks Colangelo for helping her tell the entire truth,” is admitted. As

to the remainder of paragraph 138, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion and, therefore,

leave the plaintiff to her burden of proof.

      139.   Paragraph 139 is denied.

      140-141.      Paragraphs 140 and 141 are admitted.

      142.   As to paragraph 142, these defendants do not have

sufficient knowledge or information upon which to base a belief or opinion

about the truth of the matters contained therein, and therefore, leave the plaintiff



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to her burden of proof.

      143.   Paragraph 143 is admitted.

      144-147.      As to paragraphs 144 through 147, these defendants do not

have sufficient knowledge or information upon which to base a belief or opinion

about the truth of the matters contained therein, and therefore, leave the plaintiff

to her burden of proof.

      148.   Paragraph 148 is admitted.

      149.   Paragraph 149 is denied.

      150.   Paragraph 150 is denied.

      151.   It is denied that Detective Colangelo delayed his response to

plaintiff’s e-mail. It is further denied that Detective Colangelo lied to plaintiff.

The remainder of paragraph 151 is admitted.

      152.   Paragraph 152 is denied.

      153-154.      Paragraphs 153 and 154 are admitted.

      155-156.      Paragraphs 155 and 156 are denied.

      157.   Paragraph 157 is admitted.

      158-159.      Paragraphs 158 and 159 are denied.

      160.   Paragraph 160 is admitted.

      161.   Paragraph 161 is denied.

      162.   Paragraphs 162 is admitted.



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        163.   That portion of paragraph 163 which states: “At all times

mentioned herein, Detective Colangelo and Officer Gompper’s supervisor, was

Sgt. Mark Penney,” is admitted. As to the remainder of paragraph 163, these

defendants do not have sufficient knowledge or information upon which to base

a belief or opinion and, therefore, leave the plaintiff to her burden of proof.

        164-165.     Paragraphs 164 and 165 are denied.

        166-167.     The defendants do not answer paragraphs 166 and 167 as

they are improper in form.

        168-172.     Paragraphs 168 through 172 are denied.

        173.   As to paragraph 173, these defendants do not have

sufficient knowledge or information upon which to base a belief or opinion

about the truth of the matters contained therein, and therefore, leave the plaintiff

to her burden of proof.

        174.   The defendants do not answer paragraph 174 as it is improper in

form.

        175-176.     Paragraphs 175 and 176 are denied.




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II.   LEGAL CLAIMS

      A.    Sexual Assault Defendants

COUNT ONE                (VIOLATION OF CONNECTICUT FAIR EMPLOYMENT
                         PRACTICES ACT – SEXUAL HARASSMENT & HOSTILE
                         WORK ENVIRONMENT – CONN. GEN. STAT. § 46a-
                         60(b)(8)) (Against Nodine’s Smokehouse, Inc.)

      These defendants do not answer Count One, as this count is not directed

towards them.

COUNT TWO                (VIOLATION OF TITLE VII – SEXUAL HARASSMENT &
                         HOSTILE WORK ENVIRONMENT – 42 U.S.C. § 2000e, et
                         al) (Against Nodine’s Smokehouse, Inc.)

      These defendants do not answer Count Two, as this count is not directed

towards them.

COUNT THREE              (VIOLATION OF CONNECTICUT FAIR EMPLOYMENT
                         PRACTICES ACT – RETALIATION – CONN. GEN. STAT.
                         § 46a-60(b)(4))(Against Nodine’s Smokehouse, Inc.)

      These defendants do not answer Count Three, as this count is not

directed towards them.

COUNT FOUR               (VIOLATION OF TITLE VII – RETALIATION)(Against
                         Nodine’s Smokehouse, Inc.)

      These defendants do not answer Count Four, as this count is not directed

towards them.




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COUNT FIVE               (VIOLATION OF CONNECTICUT FAIR EMPLOYMENT
                         PRACTICES ACT – AIDING AND ABETTING – CONN.
                         GEN. STAT. § 46a-60(b)(5))(Against Calvin Nodine,
                         Individually)

      These defendants do not answer Count Five, as this count is not directed

towards them.

COUNT SIX                (NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS)
                         (Against Calvin Nodine and Nodine’s Smokehouse,
                         Inc.)

      These defendants do not answer Count Six, as this count is not directed

towards them.

COUNT SEVEN              (INTENTIONAL INFLICTION OF EMOTIONAL
                         DISTRESS) (Against Calvin Nodine and Nodine’s
                         Smokehouse, Inc.)

      These defendants do not answer Count Seven, as this count is not

directed towards them.

COUNT EIGHT              (INTENTIONAL AND/OR RECKLESS ASSAULT AND
                         BATTERY)(Against Calvin Nodine)

      These defendants do not answer Count Eight, as this count is not directed

towards them.

COUNT NINE               (NEGLIGENT ASSAULT AND BATTERY)(Against Calvin
                         Nodine)

      These defendants do not answer Count Nine, as this count is not directed

towards them.




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COUNT TEN                  (INVASION OF PRIVACY)(Against Calvin Nodine)

      These defendants do not answer Count Ten, as this count is not directed

towards them.

COUNT ELEVEN               (FALSE IMPRISONMENT)(Against Calvin Nodine)

      These defendants do not answer Count Eleven, as this count is not

directed towards them.

COUNT TWELVE               (INTIMIDATION BASED ON BIGOTRY OR BIAS IN
                           VIOLATION OF CONN. GEN. STAT. § 52-571c)(Against
                           Calvin Nodine and Nodine’s Smokehouse, Inc.)

      These defendants do not answer Count Twelve, as this count is not

directed towards them.

COUNT THIRTEEN             (MALICIOUS PROSECUTION)(Against Calvin Nodine
                           and Nodine’s Smokehouse, Inc.)

      These defendants do not answer Count Thirteen, as this count is not

directed towards them.

      B.     Police Misconduct Defendants

COUNT FOURTEEN             (FALSE ARREST – 42 U.S.C. § 1983)(Against John
                           Colangelo and Adam Gompper, in their Personal
                           Capacity)

      1-176. The answers to paragraphs 1 through 176 of the Statement of Facts

are hereby made the answers to paragraphs 1 through 176 of the Fourteenth

Count, as if fully set forth herein.




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      177.     Paragraph 177 is admitted.

      178-182.       Paragraphs 178 through 182 are denied.

      183.     That portion of paragraph 183 which states: “As a result of the

defendants’ conduct,” is denied. As to the remainder of paragraph 183, these

defendants do not have sufficient knowledge or information upon which to base

a belief or opinion and, therefore, leave the plaintiff to her burden of proof.

COUNT FIFTEEN              (FALSE ARREST)(Against Officer Gompper, Det.
                           Colangelo, and the defendant Town of Canton)

      1-176.         The answers to paragraphs 1 through 176 of the Statement of

Facts are hereby made the answers to paragraphs 1 through 176 of the Fifteenth

Count, as if fully set forth herein.

      177-178.       Paragraphs 177 and 178 are denied.

      179.     That portion of paragraph 179 which states: “As a result of the

defendants’ conduct,” is denied. As to the remainder of paragraph 179, these

defendants do not have sufficient knowledge or information upon which to base

a belief or opinion and, therefore, leave the plaintiff to her burden of proof.

COUNT SIXTEEN              (MALICIOUS PROSECUTION – 42 U.S.C. § 1983)
                           (Against Det. John Colangelo and Officer Adam
                           Gompper, in their Personal Capacity)

      1-176. The answers to paragraphs 1 through 176 of the Statement of Facts

are hereby made the answers to paragraphs 1 through 176 of the Sixteenth




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Count, as if fully set forth herein.

      177.   Paragraph 177 is admitted.

      178-181.      Paragraphs 178 through 181 are denied.

      182.   That portion of paragraph 182 which states: “As a result of the

defendants’ conduct,” is denied. As to the remainder of paragraph 182, these

defendants do not have sufficient knowledge or information upon which to base

a belief or opinion and, therefore, leave the plaintiff to her burden of proof.

COUNT SEVENTEEN            (MALICIOUS PROSECUTION – COMMON LAW)(Against
                           Det. John Colangelo, Officer Adam Gompper and
                           defendant Town of Canton)

      1-176. The answers to paragraphs 1 through 176 of the Statement of Facts

are hereby made the answers to paragraphs 1 through 176 of the Seventeenth

Count, as if fully set forth herein.

      177-180.      Paragraphs 177 through 180 are denied.

      181.   That portion of paragraph 181 which states: “As a result of the

defendants’ conduct,” is denied. As to the remainder of paragraph 181, these

defendants do not have sufficient knowledge or information upon which to base

a belief or opinion and, therefore, leave the plaintiff to her burden of proof.

COUNT EIGHTEEN             (DENIAL OF EQUAL PROTECTION – 42 U.S.C. § 1983)
                           (Against Det. John Colangelo, and Police Officer Adam
                           Gompper, in their personal capacities)

      1-176. The answers to paragraphs 1 through 176 of the Statement of Facts



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are hereby made the answers to paragraphs 1 through 176 of the Eighteenth

Count, as if fully set forth herein.

      177.   Paragraph 177 is admitted.

      178-179.      Paragraphs 178 and 179 are denied.

      180.   Paragraph 180 is admitted.

      181-188.      Paragraphs 181 through 188 are denied.

      189.   As to paragraph 189, these defendants do not have sufficient

knowledge or information upon which to base a belief or opinion and, therefore,

leave the plaintiff to her burden of proof.

      190-192.      Paragraphs 190 and 192 are denied.

      193.   That portion of paragraph 193 which states: “As a result of the

defendants’ discrimination against Ms. Chase on the basis of her sex,” is

denied. As to the remainder of paragraph 193, these defendants do not have

sufficient knowledge or information upon which to base a belief or opinion and,

therefore, leave the plaintiff to her burden of proof.

      194-195.      Paragraphs 194 and 195 are denied.

COUNT NINETEEN             (INTENTIONAL INFLICTION OF EMOTIONAL
                           DISTRESS)(Against Detective Colangelo, Officer
                           Gompper, Town of Canton)

      1-176. The answers to paragraphs 1 through 176 of the Statement of Facts

are hereby made the answers to paragraphs 1 through 176 of the Nineteenth



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Count, as if fully set forth herein.

      177-178.      Paragraphs 177 and 178 are denied.

      179.   That portion of paragraph 179 which states: “As a result of their

behavior,” is denied. As to the remainder of paragraph 179, these defendants do

not have sufficient knowledge or information upon which to base a belief or

opinion and, therefore, leave the plaintiff to her burden of proof.

      180.   Paragraph 180 is denied.

COUNT TWENTY               (ASSUMPTION OF LIABILITY FOR DAMAGE CAUSED
                           BY EMPLOYEES OF MUNICIPALITY – PURSUANT TO
                           CONN. GEN. STAT. § 7-465)(Against Town of Canton)

      1-176. The answers to paragraphs 1 through 176 of the Statement of Facts

are hereby made the answers to paragraphs 1 through 176 of the Twentieth

Count, as if fully set forth herein.

      177-181.      The answers to paragraphs 177 through 181 of the

Fourteenth Count are hereby made the answers to paragraphs 177 through 181

of the Twentieth Count, as if fully set forth herein.

      182.   The answer to paragraph 177 of the Fifteenth Count is hereby made

the answer to paragraph 182 of the Twentieth Count, as if fully set forth herein.

      183-200.      The answers to paragraphs 183 through 195 of the Eighteenth

Count are hereby made the answers to paragraphs 183 through 195 of the

Twentieth Count, as if fully set forth herein. The Eighteenth Count does not



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have paragraphs 196 through 200.

      201.   That portion of paragraph 201 which states: “As a result of

defendant Colangelo’s and defendant Gompper’s conduct,” is denied. As to the

remainder of paragraph 201, these defendants do not have sufficient knowledge

or information upon which to base a belief or opinion and, therefore, leave the

plaintiff to her burden of proof.

      202-203.      Paragraphs 202 and 203 are admitted.

      204.   As to paragraph 204, these defendants do not have

sufficient knowledge or information upon which to base a belief or opinion

about the truth of the matters contained therein, and therefore, leave the plaintiff

to her burden of proof.

      205.   Paragraph 205 is denied.




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                           AFFIRMATIVE DEFENSES

FIRST AFFIRMATIVE DEFENSE AS TO COUNT FOURTEEN:

      The plaintiff has failed to state a cause of action upon which relief can be

granted.

SECOND AFFIRMATIVE DEFENSE AS TO COUNT FOURTEEN:

      The plaintiff’s claims against these defendants are barred by the doctrine

of qualified immunity.

FIRST AFFIRMATIVE DEFENSE AS TO COUNT FIFTEEN:

      The plaintiff has failed to state a cause of action upon which relief can be

granted.

SECOND AFFIRMATIVE DEFENSE AS TO COUNT FIFTEEN:

      The plaintiff’s claims against these defendants are barred by the doctrine

of qualified immunity.

FIRST AFFIRMATIVE DEFENSE AS TO COUNT SIXTEEN:

      The plaintiff has failed to state a cause of action upon which relief can be

granted.

SECOND AFFIRMATIVE DEFENSE AS TO COUNT SIXTEEN:

      The plaintiff’s claims against these defendants are barred by the doctrine

of qualified immunity.




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FIRST AFFIRMATIVE DEFENSE AS TO COUNT SEVENTEEN:

      The plaintiff has failed to state a cause of action upon which relief can be

granted.

SECOND AFFIRMATIVE DEFENSE AS TO COUNT SEVENTEEN:

      The plaintiff’s claims against these defendants are barred by the doctrine

of qualified immunity.

FIRST AFFIRMATIVE DEFENSE AS TO COUNT EIGHTEEN:

      The plaintiff has failed to state a cause of action upon which relief can be

granted.

SECOND AFFIRMATIVE DEFENSE AS TO COUNT EIGHTEEN:

      The plaintiff’s claims against these defendants are barred by the doctrine

of qualified immunity.

FIRST AFFIRMATIVE DEFENSE AS TO COUNE NINETEEN:

      The plaintiff has failed to state a cause of action upon which relief can be

granted.

SECOND AFFIRMATIVE DEFENSE AS TO COUNT NINETEEN:

      The plaintiff’s claims are barred by the doctrine of governmental immunity

at Common law and pursuant to Connecticut General Statute § 52-557n.




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FIRST AFFIRMATIVE DEFENSE AS TO COUNT TWENTY:

      The plaintiff has failed to state a cause of action upon which relief can be

granted.

SECOND AFFIRMATIVE DEFENSE AS TO COUNE TWENTY:

      The plaintiff’s claims against these defendants are barred by the doctrine

of qualified immunity.

THIRD AFFIRMATIVE DEFENSE AS TO COUNT TWENTY:

      The plaintiff’s claims are barred by the doctrine of governmental immunity

at Common law and pursuant to Connecticut General Statute § 52-557n.



                                 JURY DEMAND

      The defendants, TOWN OF CANTON, JOHN COLANGELO and ADAM

GOMPPER, demand a trial by jury.




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 DEFENDANTS,
 TOWN OF CANTON, JOHN
 COLANGELO AND ADAM GOMPPER



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                                  CERTIFICATION

      This is to certify that on OCTOBER 1, 2019, a copy of the foregoing
ANSWER AND AFFIRMATIVE DEFENSES was filed electronically and served by
mail on anyone unable to accept electronic filing. Notice of this filing will be
sent by e-mail to all parties by operation of the Court’s electronic filing system
or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the Court’s CM/ECF
System.

Lewis H. Chimes, Esq.                     David A. Moraghan, Esq.
Mary-Kate Smith, Esq.                     Smith, Keefe, Moraghan
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                                         /s/ Kristan M. Maccini
                                         Kristan M. Maccini




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